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FILED

IN THE UNITED STATES DISTRICT COURT SEP 14 2018
FOR THE DISTRICT OF COLUMBIA
Clerk, U.S. District & Bankruptcy
Courts for the District of Columbia

UNITED STATES OF AMERICA *
* CRIMINAL NO. 17-201-1 (ABJ)
*

V. * Violations: 18 U.S.C. § 371

* (Conspiracy Against the United States
* and Conspiracy to Obstruct Justice)

PAUL J. MANAFORT, JR., *
*

Defendant. *
2 RR OR OE 3K

STATEMENT OF THE OFFENSES AND OTHER ACTS

Pursuant to the Federal Rules of Criminal Procedure 11, the United States and the
defendant PAUL J. MANAFORT, JR. (MANAFORT) stipulate and agree that the following
facts are true and accurate. These facts do not constitute all of the facts known to the parties
concerning the charged offense and covered conduct. This statement is being submitted by the
parties to demonstrate that sufficient facts exist to establish that the defendant committed the
offenses to which he is pleading guilty.

Count 1: Conspiracy Against the United States (18 U.S.C. § 371)

1. At all relevant times herein, MANAFORT was an owner of Davis Manafort Partners, Inc.
(DMP) or DMP International, LLC (DMI) or both. MANAFORT engaged in a variety of criminal
schemes, and knowingly, intentionally, and willfully conspired with Richard W. Gates, Konstantin
Kilimnik, and others to carry out the criminal schemes that make up Counts One and Two of the
Information, as more fully set forth below.

A. FARA Conspiracy
22 U.S.C. §§ 612 and 618(a)(1)

MANAFORT?’s Lobbying in the United States on Behalf of the Government of Ukraine

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2. MANAFORT knew it was illegal to lobby government officials and engage in public
relations activities (hereinafter collectively referred to as lobbying) in the United States on behalf
of a foreign government or political party, without registering with the United States Government
under the Foreign Agents Registration Act. MANAFORT knew he was lobbying in the United
States for the Government of Ukraine, President Viktor F. Yanukovych, the Party of Regions, and
the Opposition Bloc (the latter two being political parties in Ukraine), and thus he was supposed
to submit a written registration statement to the United States Department of Justice.
MANAFORT knew that the filing was required to disclose the name of the foreign country, all the
financial payments to the lobbyist, and the specific steps undertaken for the foreign country in the
United States, among other information.

3. MANAFORT knew that Ukraine had a strong interest in the United States’ taking economic
and policy positions favorable to Ukraine, including not imposing sanctions on Ukraine.
MANAFORT also knew that the trial and treatment of President Yanukovych’s political rival,
former Prime Minister Yulia Tymoshenko, was strongly condemned by leading United States
executive and legislative branch officials, and was a major hurdle to improving United States and
Ukraine relations.

4, From 2006 until 2015, MANAFORT led a multi-million dollar lobbying campaign in the
United States at the direction of the Government of Ukraine, President Yanukovych, the Party of
Regions, and the Opposition Bloc. MANAFORT intentionally did so without registering and
providing the disclosures required by law.

5. As part of the lobbying scheme, MANAFORT hired numerous firms and people to assist in
his lobbying campaign in the United States. He hired Companies A, B, C, D, and E, and Law Firm

A, among others, to participate in what he described to President Yanukovych in writing as a global

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“Engage Ukraine” lobbying campaign that he devised and led. These companies and law firm
were paid the equivalent of over $11 million for their Ukraine work.

6. MANAFORT viewed secrecy for himself and for the actions of his lobbyists as integral to
the effectiveness of the lobbying offensive he orchestrated for Ukraine. Filing under the Foreign
Agents Registration Act would have thwarted the secrecy MANAFORT sought in order to conduct
an effective campaign for Ukraine to influence both American leaders and the American public.
7. MANAFORT took steps to avoid any of these firms and people disclosing their lobbying
efforts under the Foreign Agents Registration Act. As one example, even though MANAFORT
engaged Company E in 2007 to lobby in the United States for the Government of Ukraine,
MANAFORT tried to dissuade Company E from filing under the Foreign Agents Registration Act.
Only after MANAFORT ceased to use Company E in the fall of 2007 did Company E disclose its
work for Ukraine, in a belated filing under the Act in 2008.

8. MANAFORT took other measures to keep the Ukraine lobbying as secret as possible. For
example, MANAFORT, in written communications on or about May 16, 2013, directed his
lobbyists (including Persons D1 and D2, who worked for Company D) to write and disseminate
within the United States news stories that alleged that Tymoshenko had paid for the murder of a
Ukrainian official. MANAFORT stated that it should be “push[ed]” “[wl]ith no fingerprints.” “Tt
is very important we have no connection.”, MANAFORT stated that “[m]y goal is to plant some
stink on Tymo.” Person D1 objected to the plan, but ultimately Persons D1 and D2 complied with
MANAF ORT?’s direction. The Foreign Agents Registration Act required MANAFORT to disclose
such lobbying, as MANAFORT knew. He did not.

The Hapsburg Group and Company D

9. As part of the lobbying scheme, starting in 2011, MANAFORT secretly retained Company

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D and a group of four former European heads of state and senior officials (including a former
Austrian Chancellor, Italian Prime Minister, and Polish President) to lobby in the United States
and Europe on behalf of Ukraine. The former politicians, called the Hapsburg Group by
MANAFORT, appeared to be providing solely their independent assessments of Government of
Ukraine policies, when in fact they were paid by Ukraine. MANAFORT explained in an “EYES
ONLY” memorandum in or about June 2012 that his purpose was to “assemble a small group of
high-level European infuencial [sic] champions and politically credible friends who can act
informally and without any visible relationship with the Government of Ukraine.”

10. Through MANAFORT, the Government of Ukraine retained an additional group of
lobbyists (Company D and Persons D1 and D2). In addition to lobbying itself, Company D secretly
served as intermediaries between the Hapsburg Group and MANAFORT and the Government of
Ukraine. In or about 2012 through 2013, MANAFORT directed more than the equivalent of
700,000 euros to be wired from at least three of his offshore accounts to the benefit of Company
D to pay secretly for its services,

11. All four Hapsburg Group members, at the direction, and with the direct assistance, of
MANAFORT, advocated positions favorable to Ukraine in meetings with United States
lawmakers, interviews with United States journalists, and ghost written op-eds in American
publications. In or about 2012 through 2014, MANAFORT directed more than 2 million euros to
be wired from at least four of his offshore accounts to pay secretly the Hapsburg Group. To avoid
European taxation, the contract with the Hapsburg Group falsely stated that none of its work would
take place in Europe.

12. One of the Hapsburg Group members, a former Polish President, was also a representative

of the European Parliament with oversight responsibility for Ukraine. MANAFORT solicited that

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official to provide MANAFORT inside information about the European Parliament’s views and
actions toward Ukraine and to take actions favorable to Ukraine. MANAFORT also used this
Hapsburg Group member’s current European Parliament position to Ukraine’s advantage in his
lobbying efforts in the United States. In the fall of 2012, the United States Senate was considering
and ultimately passed a resolution critical of President Yanukovych’s treatment of former Prime
Minister Tymoshenko. MANAFORT engaged in an all-out campaign to try to kill or delay the
passage of this resolution. Among the steps he took was having the Hapsburg Group members
reach out to United States Senators, as well as directing Companies A and B to have private
conversations with Senators to lobby them to place a “hold” on the resolution. MANAFORT told
his lobbyists to stress to the Senators that the former Polish President who was advocating against
the resolution was currently a designated representative of the President of the European
Parliament, to give extra clout to his supposedly independent judgment against the Senate
resolution. MANAFORT never revealed to the Senators or to the American public that any of
these lobbyists or Hapsburg Group members were paid by Ukraine.

13. In another example, on May 16, 2013, another member of the Hapsburg Group lobbied in
the United States for Ukraine. The Hapsburg Group member accompanied his country’s prime
minister to the Oval Office and met with the President and Vice President of the United States, as
well as senior United States officials in the executive and legislative branches. In written
communications sent to MANAFORT, Person D1 reported that the Hapsburg Group member
delivered the message of not letting “Russians Steal Ukraine from the West.” The Foreign Agents
Registration Act required MANAFORT to disclose such lobbying, as MANAFORT knew. He did
not.

Law Firm Report and ‘Tymoshenko

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14. As another part of the lobbying scheme, in 2012, on behalf of President Yanukovych and
the Government of Ukraine’s Ministry of Justice, MANAFORT solicited a United States law firm
to write a report evaluating the trial of Yanukovych’s political opponent Yulia Tymoshenko.
MANAFORT caused Ukraine to hire the law firm so that its report could be used in the United
States and elsewhere to defend the Tymoshenko criminal trial and argue that President
Yanukovych and Ukraine had not engaged in selective prosecution.

15. MANAFORT retained a public relations firm (Company C) to prepare a media roll-out plan
for the law firm report. MANAFORT used one of his offshore accounts to pay Company C the
equivalent of more than $1 million for its services.

16. MANAFORT worked closely with Company C to develop a detailed written lobbying plan
in connection with what MANAFORT termed the “selling” of the report. This campaign included
getting the law firm’s report “seeded” to the press in the United States—that is, to leak the report
ahead of its official release to a prominent United States newspaper and then use that initial article
to influence reporting globally. As part of the roll-out plan, on the report’s issuance on December
13, 2012, MANAFORT arranged to have the law firm disseminate hard copies of the report to
numerous government officials, including senior United States executive and legislative branch
officials.

17. MANAFORT reported on the law firm’s work on the report and Company C’s lobbying
plan to President Yanukovych and other representatives of the Government of Ukraine. For
example, in a July 27, 2012 memorandum to President Yanukovych’s Chief of Staff, MANAFORT
reported on “the global rollout strategy for the [law firm’s] legal report, and provide[d] a detailed
plan of action[]” which included step-by-step lobbying outreach in the United States.

18. MANAFORT directed lobbyists to tout the report as showing that President Yanukovych

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had not selectively prosecuted Tymoshenko. But in November 2012 MANAFORT had been told
privately in writing by the law firm that the evidence of Tymoshenko’s criminal intent “is virtually
non-existent” and that it was unclear even among legal experts that Tymoshenko lacked power to
engage in the conduct central to the Ukraine criminal case. These facts, known by MANAFORT,
were not disclosed to the public.

19. MANAFORT knew that the report also did not disclose that the law firm, in addition to
being retained to write the report, was retained to represent Ukraine itself, including in connection
with the Tymoshenko case and to provide training to the trial team prosecuting Tymoshenko.

20. _MANAFORT also knew that the Government of Ukraine did not want to disclose how much
the report cost. More than $4.6 million was paid to the law firm for its work. MANAFORT used
one of his offshore accounts to funnel $4 million to pay the law firm, a fact that MANAFORT did
not disclose to the public. Instead, the Government of Ukraine reported falsely that the report cost
just $12,000.

21. .MANAFORT and others knew that the actual cost of the report and the scope of the law
firm’s work would undermine the report’s being perceived as an independent assessment and thus
being an effective lobbying tool for MANAFORT to use to support the incarceration of President
Yanukovych’s political opponent.

22. In addition to the law firm report, MANAFORT took other steps on behalf of the
Government of Ukraine to tarnish Tymoshenko in the United States. In addition to disseminating
stories about her soliciting murder, noted above, in October 2012, MANAFORT orchestrated a
scheme to have, as he wrote in a contemporaneous communication, “[O]bama jews” put pressure
on the Administration to disavow Tymoshenko and support Yanukovych. MANAFORT sought

to undermine United States support for Tymoshenko by spreading stories in the United States that

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a senior Cabinet official (who had been a prominent critic of Yanukovych’s treatment of
Tymoshenko) was supporting anti-Semitism because the official supported Tymoshenko, who in
turn had formed a political alliance with a Ukraine party that espoused anti-Semitic
views. MANAFORT coordinated privately with a senior Israeli government official to issue a
written statement publicizing this story. MANAFORT then, with secret advance knowledge of
that Israeli statement, worked to disseminate this story in the United States, writing to Person D1
“] have someone pushing it on the NY Post. Bada bing bada boom.” MANAFORT sought to have
the Administration understand that “the Jewish community will take this out on Obama on election
day if he does nothing.” MANAFORT then told his United States lobbyist to inform the
Administration that Ukraine had worked to prevent the Administration’s presidential opponent
from including damaging language in the Israeli statement, so as not to harm the Administration,
and thus further ingratiate Yanukovych with the Administration.

Company A and Company B

23. As a third part of the lobbying scheme, in February 2012, MANAFORT solicited two
Washington, D.C. lobbying firms (Company A and Company B) to lobby in the United States on
behalf of President Yanukovych, the Party of Regions and the Government of Ukraine. For
instance, in early 2012 at the inception of the relationship, Company B wrote in an email to its
team about a “potential representation for the Ukraine,” having been contacted “at the suggestion
of Paul Manafort who has been working on the current PM elections.”

24, MANAFORT arranged to pay Companies A and B over $2 million from his offshore
accounts for their United States lobbying work for Ukraine.

25. MANAFORT provided direction to Companies A and B in their lobbying efforts, including

providing support for numerous United States visits by numerous senior Ukrainian officials.

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Companies A and B, at MANAFORT’s direction, engaged in extensive United States lobbying.
Among other things, they lobbied dozens of Members of Congress, their staff, and White House
and State Department officials about Ukraine sanctions, the validity of Ukraine elections, and the
propriety of President Yanukovych’s imprisoning Tymoshenko, his presidential rival.

26. In addition, with the assistance of Company A, MANAFORT also personally lobbied in the
United States. He drafted and edited numerous ghost-written op-eds for publication in United
States newspapers. He also personally met in March 2013 in Washington, D.C., with a Member
of Congress who was on a subcommittee that had Ukraine within its purview. After the meeting,
MANAFORT prepared a report for President Yanukovych that the meeting “went well” and
reported a series of positive developments for Ukraine from the meeting.

27. Indeed, MANAFORT repeatedly communicated in person and in writing with President
Yanukovych and his staff about the lobbying activities of Companies A and B and he tasked the
companies to prepare assessments of their work so he, in turn, could brief President Yanukovych.
For instance, MANAFORT wrote President Yanukovych a memorandum dated April 8, 2012, in
which he provided an update on the lobbying firms’ activities “since the inception of the project a
few weeks ago. It is my intention to provide you with a weekly update moving forward.” In
November 2012, Gates wrote to Companies A and B that the firms needed to prepare an assessment
of their past and prospective lobbying efforts so the “President” could be briefed by “Paul” “on
what Ukraine has done well and what it can do better as we move into 2013.” The resulting
memorandum from Companies A and B, with input from Gates, noted among other things that the
“client” had not been as successful as hoped given that it had an Embassy in Washington.

28. To distance their United States lobbying work from the Government of Ukraine, and to

avoid having to register as agents of Ukraine under the Foreign Agents Registration Act,

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MANAFORT with others arranged for Companies A and B to be engaged by a newly-formed
Brussels entity called the European Centre for the Modern Ukraine (the Centre), instead of directly
by the Government of Ukraine.

29. MANAFORT described the Centre as “the Brussels NGO that we have formed” to
coordinate lobbying for Ukraine. The Centre was founded by a Ukraine Party of Regions member
and Ukraine First Vice-Prime Minister. The head of its Board was another member of the Party
of Regions, who became the Ukraine Foreign Minister.

30. In spite of these ties to Ukraine, MANAFORT and others arranged for the Centre to
represent falsely that it was not “directly or indirectly supervised, directed, [or] controlled” in
whole or in major part by the Government of Ukraine or the Party of Regions. MANAFORT knew
that the false and misleading representations would lead Companies A and B not to register their
activities pursuant to the Foreign Agents Registration Act.

31. Despite the Centre being the ostensible client of Companies A and B, MANAFORT knew
that the Centre did not direct or oversee their work. The firms received direction from
MANAFORT and his subordinate Gates, on behalf of the Government of Ukraine.

32. As MANAFORT knows from giving directions to Companies A and B, and from the
discovery material provided herein, various employees of Companies A and B understood that
they were receiving direction from MANAFORT and President Yanukovych, not the Centre,
which was not even operational when Companies A and B began lobbying for Ukraine.
MANAFORT, Gates, and employees of both Companies A and B referred to the client in ways
that made clear they knew it was Ukraine, for instance noting that the “client” had an Embassy in
Washington D.C. The head of Company B told his team to think the President of Ukraine “‘is the

client.” As a Company A employee noted to another company employee: the lobbying for the

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Centre was “in name only. [Y]Jou’ve gotta see through the nonsense of that[.]” “It’s like Alice in
Wonderland.” An employee of Company B described the Centre as a fig leaf, and the Centre’s
written certification that it was not related to the Party of Regions as “a fig leaf on a fig leaf,”
referring to the Centre in an email as the “European hot dog stand for a Modern Ukraine.”

Conspiring to Obstruct Justice: False and Misleading Submissions to the Department of Justice

33. In September 2016, after numerous press reports concerning MANAFORT had appeared in
August, the Department of Justice National Security Division informed MANAFORT, Gates, and
DMI in writing that it sought to determine whether they had acted as agents of a foreign principal
under the Foreign Agents Registration Act, without registering. In November 2016 and February
2017, MANAFORT and Gates conspired to knowingly and intentionally cause false and
misleading letters to be submitted to the Department of Justice, through his unwitting legal
counsel. The letters, both of which were approved by MANAFORT before they were submitted
by his counsel, represented falsely, among other things, that:

a. DMI’s “efforts on behalf of the Party of Regions” “did not include meetings or

outreach within the U.S.”;

b. MANAFORT did not “recall meeting with or conducting outreach to U.S.

government officials or U.S. media outlets on behalf of the [Centre], nor do they recall

being party to, arranging, or facilitating any such communications. Rather, it is the

recollection and understanding of Messrs. Gates and Manafort that such communications

would have been facilitated and conducted by the [Centre’s] U.S. consultants, as directed

by the [Centre]... .”;

c. MANAFORT had merely served as a means of introduction of Company A and

Company B to the Centre and provided the Centre with a list of “potential U.S.-based

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consultants—including [Company A] and [Company B]—for the [Centre’s] reference and

further consideration.”

d. DMI “does not retain communications beyond thirty days” and as a result of this

policy, a “search has returned no responsive documents.” The November 2016 letter

attached a one-page, undated document that purported to be a DMI “Email Retention

Policy.”
34, In fact, MANAFORT had: selected Companies A and B; engaged in weekly scheduled calls
and frequent emails with Companies A and B to provide them directions as to specific lobbying
steps that should be taken; sought and received detailed oral and written reports from these firms
on the lobbying work they had performed; communicated with Yanukovych to brief him on their
lobbying efforts; both congratulated and reprimanded Companies A and B on their lobbying work;
communicated directly with United States officials in connection with this work; and paid the
lobbying firms over $2.5 million from offshore accounts he controlled, among other things.
35. Although MANAFORT had represented to the Department of Justice in November 2016
and February 2017 that he had no relevant documents, in fact MANAFORT had numerous
incriminating documents in his possession, as he knew at the time. The Federal Bureau of
Investigation conducted a court-authorized search of MANAFORT’S home in Virginia in the
summer of 2017. The documents attached hereto as Government Exhibits 503, 504, 517, 532, 594,
604, 606, 616, 691, 692, 697, 706 and 708, among numerous others, were all documents that
MANAFORT had in his possession (and were found in the search) and all pre-dated the November
2016 letter.

B. Money Laundering Conspiracy

36. In or around and between 2006 and 2016, MANAFORT, together with others, did

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knowingly and intentionally conspire (a) to conduct financial transactions, affecting interstate and
foreign commerce, which involved the proceeds of specified unlawful activity, to wit, felony
violations of FARA in violation of Title 22, United States Code, Sections 612 and 618, knowing
that the property involved in the financial transactions represcnted proceeds of some form of
unlawful activity, with intent to engage in conduct constituting a violation of sections 7201 and
7206 of the Internal Revenue Code of 1986; and (b) to transport, transmit, and transfer monetary
instruments and funds from places outside the United States to and through places in the United
States and from places in the United States to and through places outside the United States, with
the intent to promote the carrying on of specified unlawful activity, to wit: a felony violation of
FARA, in violation of Title 22, United States Code, Sections 612 and 618, contrary to Title 18,
United States Code, Section 1956(a)(1)(A)(ii) and (a)(2)(A).

37. _MANAFORT caused the following transfers to be made, knowing that they were being
made to entities to carry on activities that were required to be timely reported under the Foreign

Agents Registration Act, but were not:

Payee | Date Payer Originating Country of... Amount
Bank Account | Origin Destination (USD)
8/2/2012 Bletilla Bank of Cyprus | Cyprus |US $270,000.00
Ventures Ltd. | Account -0480
10/10/2012 | Bletilla Bank of Cyprus | Cyprus |US $90,000.00
Ventures Ltd. | Account -0480
11/16/2012 | Bletilla Bank of Cyprus |Cyprus |US $120,000.00
< Ventures Ltd. | Account -0480
p> | I 1/20/2012 | Bletilla Bank of Cyprus | Cyprus |US $182,968.07
a Ventures Ltd. | Account -0480
g 12/21/2012 | Bletilla Bank of Cyprus | Cyprus |US $25,000.00
Oo Ventures Ltd. | Account -0480
3/15/2013 ‘| Bletilla Hellenic Bank |Cyprus |US $90,000.00
Ventures Ltd. | Account -2501
9/18/2013 | Global Loyal Bank SVG* |US $135,937.37
Endeavour Inc.| Limited Account
-1840

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Payee | Date Payer Originating Country of... Amount
Bank Account Origin Destination (USD)
10/31/2013 | Jeunet Ltd. Loyal Bank SVG* |US $167,689.40
Limited Account
-4978
3/28/2014 | Jeunet Ltd. Loyal Bank SVG* |US $135,639.65
Limited Account
-4978
4/3/2014 Jeunet Ltd. Loyal Bank SVG* |US $82,979.93
Limited Account
-4978
Total Company A Transfers $1,300,214.42
5/30/2012 | Bletilla Bank of Cyprus | Cyprus |US $130,000.00
Ventures Ltd. | Account -0480
8/2/2012 Bletilla Bank of Cyprus | Cyprus | US $195,000.00;
Ventures Ltd. | Account -0480
10/10/2012 | Bletilla Bank of Cyprus | Cyprus | US $130,000.00
Ventures Ltd. | Account -0480
11/16/2012 | Bletilla Bank of Cyprus | Cyprus | US $50,000.00
Ventures Ltd. | Account -0480
12/21/2012 | Bletilla Bank of Cyprus | Cyprus | US $54,649.51
Ventures Ltd. | Account -0480
3/15/2013 ‘| Bletilla Hellenic Bank |Cyprus | US $150,000.00}
Ventures Lid. | Account -2501
9/3/2013 Jeunet Ltd. Loyal Bank SVG* |US $175,857.51
e Limited Account
5 -4978
e 10/31/2013 | Jeunet Ltd. Loyal Bank SVG* |US $195,857.51
5 Limited Account
-4978
3/12/2014 | Jeunet Ltd. Loyal Bank SVG* /|US $26,891.78
Limited Account
-4978
3/21/2014 | Jeunet Ltd. Loyal Bank SVG* |US $138,026.00
Limited Account
-4978 |
4/15/2014 | Jeunet Ltd. Loyal Bank SVG* |US $4,728.81
Limited Account
-4978
4/25/2014 | Jeunet Ltd. Loyal Bank SVG* |US $4,739.23
Limited Account
-4978
Total Company B Transfers $1,255,750.35

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Payee | Date Payer Originating Country of... Amount
Bank Account | Origin Destination (USD)
4/19/2012 | Black Sea Bank of Cyprus | Cyprus | US $2.000,000.00
< View Limited | Account -7412
E [5730/2012 [Black Sea | Bank of Cyprus | Cyprus |US $1,000,000.00
co View Limited | Account -7412
z 7/13/2012 | Black Sea Bank of Cyprus | Cyprus | US $1,000,000.00
4 View Limited | Account -7412
Total Law Firm A Transfers $4,000,000.00
TOTAL TRANSFERS $6,555,964.77

* SVG refers to St. Vincent and the Grenadines.

C. Tax and Foreign Bank Account Conspiracy
26 U.S.C. § 7206(1)
31 U.S.C. §§ 5314 and 5322(a)

38. From 2008 through 2014, MANAFORT caused millions of dollars of wire transfers to be
made from offshore nominee accounts, without paying taxes on that income. The payments were
made for goods, services, and real estate. MANAFORT also hid income by denominating various
overseas payments as “loans,” thereby evading payment of any taxes on that income by
MANAFORT.

39. MANAFORT directly and through Gates repeatedly misled his bookkeeper and tax
accountants, including by not disclosing Manafort’s overseas accounts and income. Further,
MANAFORT and Gates, acting at Manafort’s instruction, classified overseas payments made to
MANAFORT falsely as “loans” to avoid incurring additional taxes on the income.

40. MANAFORT owned and controlled a range of foreign bank accounts in Cyprus, the
Grenadines, and the United Kingdom. MANAFORT directly and through Gates maintained these
accounts, including by managing them and by making substantial transfers from the accounts to
both himself and vendors for personal items for him and his family. MANAFORT was aware that
many of these accounts held well in excess of $10,000 in the aggregate at some point during cach
year in which they existed. MANAFORT did not report the accounts’ existence to his bookkeeper

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and his tax preparers in an effort to hide them, and to allow him to avoid disclosing their existence
on an FBAR filing.

41. MANAFORT was aware at the time that it was illegal to hide income from the Internal
Revenue Service (IRS) by failing to account for reportable income on his income tax returns.
MANAFORT was also aware that it was illegal to fail to report information to the IRS regarding
the existence of foreign bank accounts, as required by Schedule B of the IRS Form 1040.
MANAFORT also understood at the time that a U.S. person who had a financial interest in, or
signature or other authority over, a bank account or other financial account in a foreign country,
which exceeded $10,000 in any one year (at any time during that year), was required to report the
account to the Department of the Treasury. MANAFORT also understood, after 2010, that the
failure to make such a report constituted a crime.

42. Knowing the existence of his reportable foreign accounts and hidden income, MANAFORT
knowingly, intentionally, and willfully filed and conspired to file false tax returns from 2006-2015
in that he said he did not have reportable foreign bank accounts when he knew that he did, he did
not report income that he knew he in fact had earned, and he did not file Foreign Bank Account
Reports. MANAFORT failed to report over $15 million in income during the period 2010-2014.
FORFEITURE

43. The following assets constitute or were derived from proceeds of MANAFORT’s
conspiracy to violate the Foreign Agents Registration Act and/or they constitute property involved
in MANAFORT’s conspiracy to launder money in violation of 18 U.S.C. § 1956 or are traceable
thereto and/or they represent substitute assets for such property which has been made unavailable
for forfeiture by the acts or omissions of MANAFORT:

a) The real property and premises commonly known as 377 Union Street, Brooklyn, New

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York 11231 (Block 429, Lot 65), including all appurtenances, improvements, and
attachments thereon, and any property traceable thereto;

b) The real property and premises commonly known as 29 Howard Street, #4D, New
York, New York 10013 (Block 209, Lot 1104), including all appurtenances,
improvements, and attachments thereon, and any property traceable thereto;

c) The real property and premises commonly known as 174 Jobs Lane, Water Mill, New
York 11976, including all appurtenances, improvements, and aitachments thereon, and
any property traceable thereto;

d) All funds held in account number XXXXXX0969 at The Federal Savings Bank, and
any property traceable thereto;

e) All funds seized from account number XXXXXX1388 at Capital One N.A. and any
property traceable thereto;

f) All funds seized from account number XXXXXX9952 at The Federal Savings Bank
and any property traceable thereto;

g) Northwestern Mutual Universal Life Insurance Policy and any property
traceable thereto;

h) The real property and premises commonly known as 123 Baxter Street, #5D, New
York, New York 10016 in lieu of 1046 N. Edgewood Street; and

i) The real property and premises commonly known as 721 Fifth Avenue, #43G, New
York, New York 10022 in lieu of all funds from account number at Charles
Schwab & Co. Inc., and any property traceable thereto.

Count Two: Witness Tampering Conspiracy (18 U.S.C. § 371)

44. From in or about and between February 23, 2018, and April 2018, both dates being

approximate and inclusive, within the District of Columbia and elsewhere, the defendant PAUL J.

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MANAFORT, JR., together with others, including Konstantin Kilimnik, knowingly and
intentionally conspired to corruptly persuade another person, to wit: Persons D1 and D2, with
intent to influence, delay and prevent the testimony of any person in an official proceeding, in
violation of 18 U.S.C. § 1512(b)(1). The facts set forth with respect to Count One are incorporated
herein.

45. On February 22, 2018, MANAFORT was charged in the District of Columbia in a
Superseding Indictment that for the first time included allegations about the Hapsburg Group and
MANAFORT?’3 use of that group to lobby illegally in the United States in violation of the Foreign
Agent Registration Act. MANAFORT knew that the Act prescribed only United States lobbying.
Immediately after February 22, 2018, MANAFORT began reaching out directly and indirectly to
Persons D1 and D2 to induce them to say falsely that they did not work in the United States as part
of the lobbying campaign, even though MANAFORT then and there well knew that they did lobby
in the United States.

46, MANAFORT committed the following overt acts directly and through his conspirators.

Date/Time* Sender Receiver Event
MANAFORT contacted Person D1 by phone and a messaging application:

2/24/2018; MANAFORT | Person D1 Phone call (attempted): No duration.
15:51 (UTC)

2/24/2018; MANAFORT | Person D1 Phone call: 1 min, 24 second call.
15:51 (UTC)

2/24/2018; MANAFORT | Person D1 Text: “This is paul”

15:53 (UTC)

2/25/2018; MANAFORT | Person D1 Phone call (attempted): No duration.
18:41 (UTC)

2/26/2018; MANAFORT | Person D1 Text:
23:56 (UTC) “http://www. businessinsider.com/former-

european-leaders-manafort-hapsburg-group-
2018-27?r=UK &IR=T”

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Date/Time* Sender Receiver Event

2/26/2018; MANAFORT Person DI | Text: “We should talk. I have made clear that
23:57 (UTC) they worked in Europe.”

2/27/2018; MANAFORT | Person D1 Phone call (attempted): No duration.
11:03 (UTC)

2/27/2018; MANAFORT | Person D1 Phone call (attempted): No duration.
11:31 (UTC)

Kilimnik contacted Person D2 a messagi

ng application, sending four messages:

2/28/2018; Kilimnik Person D2 “IPerson D2], hi! How are you? Hope you
01:49 (CEST) are doing fine. ;))”

2/28/2018; Kilimnik Person D2 “My friend P is trying to reach [Person D1]
01:51 (CEST) to brief him on what's going on.”

2/28/2018; Kilimnik Person D2 “If you have a chance to mention this to
01:51 (CEST) [Person D1] - would be great”

2/28/2018; Kilimnik Person D2 “Basically P wants to give him a quick

01:53 (CEST)

summary that he says to everybody (which is
true) that our friends never lobbied in the
US, and the purpose of the program was EU”

Kilimnik contacted Person D2 us

ing a different messaging application, sending five messages:

2/28/2018; Kilimnik Person D2 “Hey, how are you? This is K.”
06:01 (CEST)

2/28/2018; Kilimnik Person D2 “Hope you are doing fine.”
06:01(CEST)

2/28/2018; Kilimnik Person D2 “My friend P is trying to reach [Person D1]
06:01 (CEST) to brief him on what's going on”

2/28/2018; Kilimnik Person D2 “Basically P wants to give him a quick

06:02 (CEST)

summary that he says to everybody (which is
true) that our friends never lobbied in the
US, and the purpose of the program was EU”

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Date/Time* Sender Receiver Event
2/28/2018; Kilimnik Person D2 “If you have a chance to mention this to
06:03 (CEST) [First Initial of Person D1’s Name]. - it

would be great. It would be good to get them
connected to discuss in person. P is his

friend.”
Kilimnik contacted Person D2 using two different applications, sending three messages:

4/4/2018; Kilimnik Person D2 | “Hey. This is Konstantin. My friend P asked

08:53 (CEST) me again to help connect him with [Person
D1]. Can you help?”

4/4/2018; Kilimnik Person D2 “Hey. My friend P has asked me again if

08:54 (CEST) there is any way to help connect him through
[Person D1]
4/4/2018; Kilimnik Person D2 “TI tried him on all numbers.”

08:54 (CEST)

Kilimnik contacted Person D1 using a messaging application:

4/4/2018; Kilimnik Person D1 “Hi. This is K. My friend P is looking for
13:00 (UTC) ways to connect to you to pass you several
messages. Can we arrange that.”
*UTC and CEST refer to Coordinated Universal Time and Central European Summer Time,
respectively.

Other Acts

1. Bank/Bank Fraud Conspiracy
18 U.S.C. §§ 1344 and 1349

Bank Fraud Conspiracy / Citizens Bank / $3.4 million loan
Charged as Count 24 in the Eastern District of Virginia Superseding Indictment)

47. Between December 2015 and March 2016, MANAFORT conspired to intentionally defraud
Citizens Bank in connection with his application for a mortgage for approximately $3.4 million.
The mortgage related to a condominium on Howard Street in the Soho neighborhood of Manhattan,
New York. During the course of the conspiracy, MANAFORT made and caused to be made, a

series of false and fraudulent representations to the bank in order to secure the loan, including the

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following: (a) MANAFORT falsely represented the amount of debt he had by failing to disclose
on his loan application the existence of a mortgage on his Union Street property (from Genesis
Capital); (6) MANAFORT caused an insurance broker to provide Citizens Bank false information,
namely, an outdated insurance report that did not list the Union Street loan (from Genesis Capital);
(c) MANAFORT falsely stated that a $1.5 million Peranova loan had been forgiven in 2015; and
(d) MANAFORT falsely represented to the lender and its agents that the Howard Street property
was a secondary home used as such by his daughter and son-in-law and was not held as a rental
property. These statements were material to Citizens Bank.

48. Citizens Bank was a financial institution chartered by the United States.

Bank Fraud Conspiracy / Banc of California / $1 million loan
(Charged as Count 26 in the Eastern District of Virginia Superseding Indictment)

49. In approximately February 2016, MANAFORT conspired to intentionally defraud Banc of
California in connection with his application for a business loan. During the course of the
conspiracy, MANAFORT made and caused to be made a series of false and fraudulent
representations to the bank, including the following: (a) the submission of a false statement of
assets and liabilities that failed to disclose a loan on the Union Street property (from Genesis
Capital) and misrepresented, among other things, the amount of the mortgage on the Howard
Street property; and (b) the submission of a doctored 2015 DMI profit and loss statement (P&L)
that overstated DMI’s 2015 income by more than $4 million. These statements were material to

Banc of California.

50. Banc of California was a financial institution chartered by the United States.

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Bank Fraud Conspiracy / Citizens Bank / $5.5 million loan
(Charged as Count 28 in the Eastern District of Virginia Superseding Indictment)

51. Between December 2015 and March 2016, MANAFORT conspired to intentionally
defraud Citizens Bank in connection with his application for a mortgage for approximately $5.5
million on a property at Union Street in Brooklyn, New York. During the course of the
conspiracy, MANAFORT made or caused to be made a series of false and fraudulent material
representations to the bank in order to secure the loan, including the following: (a) the
submission of a false statement of assets and liabilities that hid a prior loan on the Union Street
property (from Genesis Capital), among other liabilities; and (b) the submission of a falsified
2016 DMI P&L that overstated DMI’s income by more than $2 million.

Bank Fraud/Bank Fraud Conspiracy / The Federal Savings Bank / $9.5 million loan & $6.5

million loan
(Charged in Counts 29, 30, 31_& 32 in the Eastern District of Virginia Superseding Indictment)

52. Between April 2016 and January 2017, MANAFORT conspired to intentionally defraud,
and did defraud, The Federal Savings Bank in connection with his applications for the following
two loans: (a) a loan for approximately $9.5 million related to various properties, including a
house in Bridgehampton, New York, and (b) a loan for approximately $6.5 million related to his
Union Street property. During the course of the fraudulent scheme, MANAFORT made and
caused to be made a series of false and fraudulent material representations to the bank in order to
secure both loans, including the following: (a) MANAFORT provided the bank with doctored
P&Ls for DMI for both 2015 and 2016, overstating its income by millions of dollars; and (b)
MANAFORT falsely represented to The Federal Savings Bank that he had lent his credit card to
a friend who had incurred more than $200,000 in charges relating to the purchase of Yankee
tickets.

53. Both loans were extended by The Federal Savings Bank.

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54. The Federal Savings Bank was a financial institution chartered by the United States.

ROBERT S. MUELLER, III
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DEFENDANT’S ACCEPTANCE

Ihave read every page of this Agreement and have discussed it with my attorneys Kevin
Downing, Thomas Zehnle, and Richard Westling. I am fully satisfied with the legal
representation by them, who I have chosen to represent me herein. Nothing about the quality of
the representation of other counsel is affecting my decision herein to plead guilty. I fully
understand this Agreement and agree to it without reservation. I do this voluntarily and of my
own free will, intending to be legally bound. No threats have been made to me nor am I under
the influence of anything that could impede my ability to understand this Agreement fully. I am
pleading guilty because I am in fact guilty of the offense identified in this Agreement.

I reaffirm that absolutely no promises, agreements, understandings, or conditions have
been made or entered into in connection with my decision to plead guilty except those set forth
in this Agreement. I am satisfied with the legal services provided by my attorneys in connection
with this Agreement and matters related to it.

Date: Y.-L p pit) Mogi ff
t= “Paul JManafort, f
Defendant

ATTORNEYS’ ACKNOWLEDGMENT

Ihave read every page of this Agreement, reviewed this Agreement with my client, Paul
J. Manafort, and fully discussed the provisions of this Agreement with my client. These pages
accurately and completely set forth the entire Agreement. I concur in my client’s desire to plead
guilty as set forth in this Agreement.

Date: 4~ IG-LY

Kevin M. Downing
Richard W. West
Thomas E. Zehnle

Attorneys for Defendant

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